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 8
 9                          IN THE UNITED STATES DISTRICT COURT

10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

11   DIMAS O’CAMPO,                                   )   Case No.: 2:16-cv-01769-JAM CMK
                                                      )
12                  Plaintiff,                        )   ORDER RE: STIPULATION FOR
                                                      )   MERRILL DEFENDANTS TO AMEND
13           vs.                                      )   ANSWER TO ADD CROSS-CLAIMS
                                                      )
14   STEVE DE CLERCK ENTERPRISES,                     )
     INC. dba TACO BELL #021286;                      )
15   ANDREA L. SILVER aka ANDREA                      )
     L. SILVER MERRILL, SUCCESSOR                     )
16   TRUSTEE of the LUCILLE F.                        )
     MORGAN IRREVOCABLE LIVING                        )
17   TRUST NUMBER TWO; RICHARD                        )
     WALTON MERRILL,                                  )
18                                                    )
                    Defendants.                       )
19
20           The Court having considered the stipulation submitted by counsel for Plaintiff and
21   counsel for Defendants GRANTS the stipulation.
22           Defendants may amend the Answer and file the attached Exhibit A to the parties’
23   stipulation.
24                  IT IS SO ORDERED.
25
     DATED: May 19, 2017
26
                                               /s/ John A. Mendez____________
27                                             HON. JOHN A. MENDEZ
                                               United States District Court Judge
28

     ORDER RE: STIPULATION FOR MERRILL DEFENDANTS TO AMEND ANSWER TO ADD CROSS-
     CLAIMS
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